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                     Exhibit 4
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                          UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA
    PETER POE, et al.,
                                           Plaintiffs,
       v.                                                      No. 23-CV-00177-JFH-SH
    GENTNER DRUMMOND, et al.,
                                         Defendants.

     SUPPLEMENTAL DECLARATION OF CURTIS E. HARRIS, M.S., M.D., J.D.


   I, Curtis E. Harris, declare the following:

      1. I have read the critiques of my declaration by Plaintiffs and their witnesses and offer

            the following responses.

      2. Dr. Janssen says that I make “claims about the safety and efficacy of this care without

            citing any sources other than his opinion and while neglecting to summarize the extant

            literature in the field.” Dr. Janssen ignores where I explained that “[t]his is a preliminary

            declaration, prepared on short notice.” I did not add citations because I had little time

            in which to prepare an initial declaration, both due to the quick deadline and my busy

            work schedule. The scope of the literature that impacts this proposed treatment is large,

            if one is looking for citations concerning estrogen, progesterone and testosterone side

            effects, potential benefits, and more. As a result, I made no claim that my declaration

            was a full and final expert report.

      3. Dr. Janssen points out that I am “an adult endocrinologist who acknowledges that he

            does not have experience in treating transgender youth for gender dysphoria.” This is

            true, although it is not particularly meaningful. I have more than 40 years’ experience

            and training dealing with the clinical response of genetic male and female patients to
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